USDC IN/ND case 3:20-cv-00699-DRL-MGG document 33 filed 11/20/20 page 1 of 2


                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                          SOUTH BEND DIVISION

LARRY BRANDON BENGE,                    )
                                        )
      Plaintiff,                        )
                                        )
      v.                                ) Cause No. 3:20-CV-699-DRL-MGG
                                        )
HYATTE,                                 )
                                        )
      Defendant.                        )

                        DEFENDANT’S STATUS REPORT

      Defendant William Hyatte, by counsel, Archer Rose, Jr., Deputy Attorney

General, pursuant to the Court’s Order [ECF 27], hereby submits his brief status

report concerning the following:

      1. What deadline should be set for joining parties and amending the

pleadings;

      January 22, 2021.

      2. What discovery is planned;

      No discovery is anticipated pending resolution of Defendant’s motion to

dismiss [ECF 29]. If Plaintiff’s cause of action survives, then Defendant will likely

conduct some written discovery and may seek leave of the Court to depose Plaintiff.

3. What deadline should be set for completing discovery; and

      May 21, 2021.

4. What deadline should be set for filing dispositive motions.

      June 21, 2021



                                           1
USDC IN/ND case 3:20-cv-00699-DRL-MGG document 33 filed 11/20/20 page 2 of 2


                                        Respectfully submitted,

                                        Office of the Indiana Attorney General

Date: November 20, 2020           By: /s/ Archer Rose, Jr.
                                      Archer Rose, Jr.
                                      Deputy Attorney General
                                      Attorney No. 35969-49

                          CERTIFICATE OF SERVICE

      I hereby certify that on November 20, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system.

      Further, I hereby certify that I have served the foregoing by United States

mail, first-class postage prepaid, on November 20, 2020 upon:

     Larry Benge
     DOC # 978470
     New Castle Correctional Facility
     1000 Van Nuys Road
     New Castle, IN 47362


                                              Archer Rose, Jr.
                                              Deputy Attorney General

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                                          2
